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 9
10                                   UNITED STATES DISTRICT COURT
11                                 CENTRAL DISTRICT OF CALIFORNIA
12
13         Katie E. Scott,                                     Case No.: 8-17-cv-00053-JVS-
                                                               DFM
14                                  Plaintiff,
15         v.                                                  NOTICE OF SETTLEMENT
16         Gold's Gym International, Inc.;
17         Gold’s Gym Southern California
           Group; SwiftFunds Financial
18         Services, LLC,
19
                                    Defendants.
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     NOTICE OF SETTLEMENT                                         - 1! of 2! -      8-17-cv-00053-JVS-DFM
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 1        NOTICE IS HEREBY GIVEN that this case has been settled in its entirety.
 2   The Plaintiff anticipates filing a Request for dismissal of this action in its
 3   entirety with prejudice within 60 days. Plaintiff requests that all pending dates
 4   and filing requirements be vacated and that the Court set a deadline on or after
 5   October 2, 2017 for filing a request for dismissal.
 6
 7   Respectfully submitted,
 8
 9   Date: August 7, 2017                            HYDE & SWIGART
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11                                               By: s/ Sara Khosroabadi
                                                       Sara Khosroabadi
12                                                     Attorneys for Plaintiff
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     NOTICE OF SETTLEMENT                                     - 2! of 2! -      8-17-cv-00053-JVS-DFM
